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                               Exhibit 1
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Case: 1:24-cv-04995 Document #: 1-1 Filed: 06/17/24 Page 9 of 101 PageID #:26
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Case: 1:24-cv-04995 Document #: 1-1 Filed: 06/17/24 Page 79 of 101 PageID #:96
Case: 1:24-cv-04995 Document #: 1-1 Filed: 06/17/24 Page 80 of 101 PageID #:97
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Case: 1:24-cv-04995 Document #: 1-1 Filed: 06/17/24 Page 83 of 101 PageID #:100
Case: 1:24-cv-04995 Document #: 1-1 Filed: 06/17/24 Page 84 of 101 PageID #:101
Case: 1:24-cv-04995 Document #: 1-1 Filed: 06/17/24 Page 85 of 101 PageID #:102
Case: 1:24-cv-04995 Document #: 1-1 Filed: 06/17/24 Page 86 of 101 PageID #:103
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Case: 1:24-cv-04995 Document #: 1-1 Filed: 06/17/24 Page 88 of 101 PageID #:105
Case: 1:24-cv-04995 Document #: 1-1 Filed: 06/17/24 Page 89 of 101 PageID #:106
Case: 1:24-cv-04995 Document #: 1-1 Filed: 06/17/24 Page 90 of 101 PageID #:107
Case: 1:24-cv-04995 Document #: 1-1 Filed: 06/17/24 Page 91 of 101 PageID #:108
Case: 1:24-cv-04995 Document #: 1-1 Filed: 06/17/24 Page 92 of 101 PageID #:109
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Case: 1:24-cv-04995 Document #: 1-1 Filed: 06/17/24 Page 96 of 101 PageID #:113
Case: 1:24-cv-04995 Document #: 1-1 Filed: 06/17/24 Page 97 of 101 PageID #:114
Case: 1:24-cv-04995 Document #: 1-1 Filed: 06/17/24 Page 98 of 101 PageID #:115
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